        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 1 of 26



 1   Jessica L. Blome (State Bar No. 314898)
     Christian R. Bucey (State Bar No. 341921)
 2   GREENFIRE LAW, PC
     2748 Adeline Street, Suite A
 3   Berkeley, CA 94703
     Ph/Fx: (510) 900-9502
 4   Email: jblome@greenfirelaw.com
 5           cbucey@greenfirelaw.com

 6   Attorneys for PLAINTIFF Deniz Bolbol

 7   JOSEPH P. CUVIELLO
     P.O. Box 2834
 8   Redwood City, CA 94064
     Telephone: (650) 315-3776
 9   Email: pcuvie@gmail.com

10   PLAINTIFF In Pro Per

11                                 UNITED STATE DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13    JOSEPH P. CUVIELLO and DENIZ
      BOLBOL, individually,                             Case No. __________________
14
                              PLAINTIFFS.               VERIFIED COMPLAINT FOR
15                                                      INJUNCTIVE AND DECLARATORY
              v.                                        RELIEF AND DAMAGES
16
      ROWELL RANCH RODEO, INC.;                         [DEMAND FOR JURY TRIAL]
17    HAYWARD AREA RECREATION AND
      PARK DISTRICT; HAYWARD AREA                       1. Assault
18    RECREATION AND PARK DISTRICT                      2. Battery
      PUBLIC SAFETY MANAGER/RANGER                      3. Civil Code § 52.1
19    KEVIN HART; and DOES 1 and 2, in their            4. Civil Code § 51.7; Code of Civil Proc.
      individual and official capacities, jointly and       § 526
20    severally,                                        5. Cal. Const. Art. I; Civil Code § 52.1;
                                                            Code of Civil Proc. § 526
21                            DEFENDANTS.               6. 42 U.S.C. § 1983; U.S. Const. amend.
                                                            I
22

23

24

25

26
            PLAINTIFFS, DENIZ BOLBOL and JOSEPH CUVIELLO, for their Complaint against
27
     DEFENDANTS, allege as follows:
28


              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 2 of 26



                                        JURISDICTION AND VENUE
 1

 2          1.       This is a civil rights action arising from DEFENDANTS’ interference and

 3   attempted interference with PLAINTIFFS’ constitutionally protected right to free speech through

 4   threats, coercion and intimidation and by assault and battery/violence based on PLAINTIFFS’

 5   political affiliation as animal rights activists. This action is brought pursuant to 42 U.S.C. § 1983,

 6   the First Amendment to the United States Constitution, Article 1, Section 2 of the California

 7   Constitution, California Civil Codes Sections 43, 51.7, 52.1 and the common law torts of Assault

 8   and Battery.

 9          2.      This complaint requests declaratory and injunctive relief and the imposition of

10   monetary damages, civil penalties and reasonable attorneys’ fees against all DEFENDANTS as

11   permitted under law and pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1988, 28 U.S.C. § 2201(a),

12   and California Civil Code, sections 51.7, 52, and 52.1.

13          3.       Jurisdiction is founded upon 28 U.S.C. §§1331 and 1343(a)(3) and (4) and the

14   aforementioned statutory and constitutional provisions. PLAINTIFFS further invoke the

15   supplemental jurisdiction of this Court pursuant to 28 U.S.C. §1367 to hear and decide claims

16   arising under state law, which are part of the same case or controversy as the federal claims.

17          4.       All of the events and/or omissions complained of herein occurred in Castro

18   Valley, California, in the County of Alameda, as such, under Local Rule 3-2(c) and (d), this

19   action is properly assigned to the Oakland Division of the United States District Court for the

20   Northern District of California.

21          5.       PLAINTIFFS have complied with the California Government Tort Claims Act,

22   section 910, et seq.

23                                      PARTIES AND PROCEDURE

24          6.       PLAINTIFFS JOSEPH CUVIELLO and DENIZ BOLBOL are residents of the
25   State of California.
26          7.       DEFENDANT ROWELL RANCH RODEO, INC. is a non-profit organization,
27   located in Castro Valley, Alameda County, California, which operates the Rowell Ranch Rodeo.
28

                                                       1
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 3 of 26



 1   DEFENDANT ROWELL RANCH RODEO, INC. is responsible for the actions of its
 2   employees.
 3          8.       DEFENDANT HAYWARD AREA RECREATON AND PARK DISTRICT,
 4   known locally as “HARD,” is an independent special use district within Alameda County,
 5   California, created by ballot initiative in 1944, to provide park and recreation services for over
 6   309,000 residents. Its boundaries encompass a 100 square-mile area, which includes the City of
 7   Hayward and the unincorporated communities of Castro Valley, San Lorenzo, Ashland,
 8   Cherryland, and Fairview. HARD owns and manages the Rowell Ranch Rodeo Park, which is
 9   located within Alameda County, where the Rowell Ranch Rodeo takes place.
10          9.       DEFENDANT KEVIN HART, upon information and belief, is the former
11   Kensington Police Chief and on May 20, 2022, was the Hayward Area Recreation and Park
12   District (HARD) Public Safety Manager/Ranger.
13          10.      DOE DEFENDANTS 1 and 2 are individuals who, upon information and belief,
14   were agents of or employed by DEFENDANT ROWELL RANCH RODEO, INC. DOE
15   DEFENDANTS 1 and 2. The true names and capacities of DEFENDANTS sued herein as Does
16   1 and 2 are unknown to PLAINTIFFS who therefore sue said DEFENDANTS by such fictitious
17   names. PLAINTIFFS will seek to amend this Complaint to allege their true names and
18   capacities when and if ascertained. PLAINTIFFS are informed and believe and thereon allege
19   that each of the fictitiously named DEFENDANTS are responsible in some manner for the
20   occurrences herein alleged and that PLAINTIFFS’ damages as herein alleged were proximately
21   caused by their conduct.
22          11.      PLAINTIFFS are informed and believe and thereon allege that each of the
23   DEFENDANTS sued herein was negligently, wrongfully, and otherwise responsible in some
24   manner for the events and happenings as described hereinafter, and proximately caused injuries
25   and damages to PLAINTIFFS.
26          12.      PLAINTIFFS are also informed and believe, and thereon allege, that each of the
27   DEFENDANTS was at all material times a managing agent, agent, servant, employee, partner,
28   joint venturer, co-conspirator, and/or alter ego of the remaining DEFENDANTS, and in doing

                                                      2
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 4 of 26



 1   the things herein alleged, was acting within the course and scope of that relationship.
 2   PLAINTIFFS are further informed and believe, and thereon allege, that each of the
 3   DEFENDANTS herein gave consent, aid, and assistance to each of the remaining
 4   DEFENDANTS, and ratified and/or authorized the acts or omissions of each DEFENDANT as
 5   alleged hereinafter, except as may be otherwise specifically alleged.
 6                                        LEGAL FRAMEWORK
 7
     California Law
 8
            13.       Under California common law, an assault occurs where: (1) the defendant acted
 9
     with the intent to cause harmful or offensive contact, or threatened to touch plaintiff in a harmful
10
     or offensive manner, (2) the plaintiff reasonably believed he was about to be touched in a
11
     harmful or offensive manner or it reasonably appeared to plaintiff that the defendant was about
12
     to carry out the threat, (3) the plaintiff did not consent to the defendant’s conduct, (4) the
13
     plaintiff was harmed, and (5) defendant’s conduct was a substantial factor in causing that harm.
14
     See So v. Shin, 212 Cal.App.4th 652, 668−669 (2013); see also Judicial Council of California
15
     Civil Jury Instructions No. 1301.
16
            14.       Under California common law, a battery occurs where: (1) the defendant touched
17
     the plaintiff or caused the plaintiff to be touched with the intent to harm or offend the plaintiff,
18
     (2) the plaintiff did not consent to the touching, (3) the plaintiff was harmed or offended by the
19
     defendant’s conduct, and (4) a reasonable person in the plaintiff’s position would have been
20
     offended by the touching. See So v. Shin, 212 Cal.App.4th 652, 669 (2013); see also Judicial
21
     Council of California Civil Jury Instructions No. 1300.
22
            15.       According to the Tom Bane Civil Rights Act, California Civil Code, section
23
     52.1, “[a]ny individual whose exercise or enjoyment of rights secured by the Constitution or laws
24
     of the United States, or of rights secured by the Constitution or laws of this state, has been
25
     interfered with, or attempted to be interfered with,” “by threat, intimidation, or coercion” “may
26
     institute and prosecute in their own name and on their own behalf a civil action for damages,
27
     including, but not limited to, damages under Section 52, injunctive relief, and other appropriate
28

                                                       3
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 5 of 26



 1   equitable relief to protect the peaceable exercise or enjoyment of the right or rights secured,
 2   including appropriate equitable and declaratory relief to eliminate a pattern or practice of
 3   conduct.” Civ. Code, sec. 52.1(b), (c).
 4           16.      One such right secured by the laws of California is “the right of protection from
 5   bodily restraint or harm, from personal insult, from defamation, and from injury to his personal
 6   relations.” Civ. Code, sec. 43.
 7           17.      Additionally, the Ralph Civil Rights Act of 1976, California Civil Code, section
 8   51.7, requires that “[a]ll persons within the jurisdiction of this state have the right to be free from
 9   any violence, or intimidation by threat of violence, committed against their persons or property
10   because of political affiliation, . . . or position in a labor dispute, or because another person
11   perceives them to have one or more of those characteristics. Civ. Code, sec. 51.7(b)(1).
12           18.      The Legislature explicitly recognized that the “particular bases of
13   discrimination” in California Civil Code, section 51.7, subd. (b)(1) are “illustrative rather than
14   restrictive.” Civ. Code, sec. 51.7(b)(1).
15           19.      “Intimidation by threat of violence” as used in California Civil Code, section
16   51.7, “includes, but is not limited to, making or threatening to make a claim or report to a peace
17   officer or law enforcement agency that falsely alleges that another person has engaged in
18   unlawful activity or in an activity that requires law enforcement intervention, knowing that the
19   claim or report is false, or with reckless disregard for the truth or falsity of the claim or report.”
20   Civ. Code, sec. 51.7(b)(2).
21           20.      Under the California Constitution, Article I, section 2, “[e]very person may
22   freely speak, write and publish his or her sentiments on all subjects.” Cal. Const. art
23   Federal Law
24           21.      The First Amendment to the United States Constitution provides that “Congress
25   shall make no law respecting an establishment of religion, or prohibiting the free exercise
26   thereof; or abridging the freedom of speech, or of the press; or the right of the people peaceably
27   to assemble, and to petition the government for a redress of grievances.” U.S. Const. amend. I.
28

                                                        4
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 6 of 26



 1          22.      The First Amendment is made applicable to the states through the Fourteenth
 2   Amendment.
 3          23.      Under 42 USC § 1983, a party may seek injunctive relief against a party who,
 4   under color of law of any state, subjects any person within the jurisdiction of the United States to
 5   a deprivation of any rights, privileges, or immunities secured by the Constitution and other laws.
 6          24.      In addition to protection from state actors interfering with a person’s free speech
 7   rights, a private entity may also violate the First Amendment and be considered a state actor
 8   under several circumstances, including where the private entity performs a traditional, exclusive
 9   public function, where the government forces the private entity to act, or when the government
10   and private entity jointly act in concert with one another.
11                                     FACTUAL ALLEGATIONS
12
            25.      PLAINTIFFS reallege each and every paragraph in this complaint as if fully set
13
     forth here.
14
            26.      PLAINTIFFS JOSEPH CUVIELLO and DENIZ BOLBOL are animal rights
15
     activists who have been active in advocating for the humane treatment of animals since 1986 and
16
     2000, respectively. PLAINTIFFS are the founders of, and organizers for, “Humanity Through
17
     Education,” a grassroots animal rights non-profit located in San Mateo, California.
18
     PLAINTIFFS’ advocacy is mainly targeted at educating patrons who frequent businesses that use
19
     animals for entertainment and includes holding signs and banners, offering informational flyers,
20
     and showing video on a large-screen television. PLAINTIFFS’ speech also includes video
21
     recording the treatment of animals for whom they advocate. PLAINTIFFS use their video to
22
     educate the public and provide news media information about the abuse and mistreatment of
23
     animals. PLAINTIFFS’ demonstrations are always peaceful and without interference.
24
            27.      PLAINTIFFS have demonstrated at or near the entrance of numerous public
25
     gathering facilities in California including the Oakland Arena, the San Jose Arena, the Cow
26
     Palace in Daly City, the Stockton Arena, the Fresno Arena, the Santa Clara County Fairgrounds,
27
     the Nevada County Fairgrounds, the Santa Cruz County Fairgrounds, the San Mateo County
28

                                                      5
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
         Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 7 of 26



 1   Fairgrounds, the Contra Costa County Fairgrounds, the San Benito County Fairgrounds, the
 2   Sonoma County Fairgrounds, the San Joaquin County Fairgrounds, the Napa Town and Country
 3   Fairgrounds, Cal Expo in Sacramento, the Richmond Auditorium Civic Center, the San
 4   Francisco Zoo, Six Flags Discovery Kingdom in Vallejo, Livermore Rodeo Arena and Rowell
 5   Ranch Rodeo Park in Castro Valley.
 6           28.     PLAINTIFFS are especially concerned about documenting and disseminating
 7   information about the cruel and inhumane treatment of animals in rodeos, like those who suffer
 8   during rodeo events hosted by DEFENDANTS at the Rowell Ranch Rodeo Park. Animals used
 9   in rodeos are subjected to roping, prodding, kicking, whipping, spur-raking and ear- and- tail
10   twisting and bucking straps, all causing pain, fear and stress. The pain and fear of animals is
11   exploited as a form of entertainment.
12           29.     PLAINTIFFS have successfully filed lawsuits for injunctive relief and damages
13   against the owners and/or managers of some of the above-listed facilities, and individual police
14   officers working at the facilities, to remedy violations of their constitutionally protected right to
15   free speech and to have their constitutional right upheld and protected while demonstrating at the
16   facilities.
17           30.     PLAINTIFFS’ speech and association is on matters of great public concern
18   locally, nationally, and internationally—the abuse and mistreatment of animals by circuses,
19   amusement parks, rodeos, and other “entertainment” entities.
20           31.     The Rowell Ranch Rodeo Park is a publicly owned special event facility that is
21   owned, operated, and maintained by DEFENDANT HARD. The facility can be rented for
22   rodeos, special events, and picnics.
23           32.     In 1995, PLAINTIFF JOSEPH CUVIELLO was demonstrating with other
24   activists at the Bill Pickett Invitational Rodeo at the Rowell Ranch Rodeo Park, and there was an
25   incident regarding interference with the activists’ free speech rights. Baron Miller, an attorney
26   colleague of PLAINTIFF JOSEPH CUVIELLO, wrote a letter to DEFENDANT HARD
27   regarding the incident. On July 21, 1995, HARD responded by writing a letter to Lu Vason,
28   President of the Bill Pickett Invitational Rodeo, informing him that the Rowell Ranch Rodeo

                                                       6
               VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 8 of 26



 1   Park “is public property and groups such as that represented by Mr. Miller, have a right to make
 2   known their beliefs by distributing leaflets or posting signs.”
 3          33.      PLAINTIFFS JOSEPH CUVIELLO and DENIZ BOLBOL have been
 4   demonstrating against rodeos at the Rowell Ranch Rodeo Park intermittently from 1988 to 2022
 5   and 2018-2022, respectively.
 6          34.      PLAINTIFFS have always stood near the entrance to the rodeo and demonstrated
 7   without causing interference or incident.
 8          35.      In 2022, the Rowell Ranch Rodeo event occurred over a three-day period from
 9   May 20 to 22, 2022, and DEFENDANT ROWELL RANCH RODEO, INC. was responsible for
10   managing and operating the rodeo event at the Rowell Ranch Rodeo Park.
11          36.      Each of the incidents complained of herein were video recorded by
12   PLAINTIFFS.
13   Events Of May 20, 2022
14          37.      On May 20, 2022, at approximately 6:00 pm, PLAINTIFFS arrived at the Rowell
15   Ranch Rodeo Park in Castro Valley, California to attend a demonstration they organized,
16   through Humanity Through Education, to protest the use of animals in rodeos. This was the first
17   day of three days of scheduled demonstrations against the Rowell Ranch Rodeo.
18          38.      Upon walking into the parking lot PLAINTIFFS noticed a cordoned off area near
19   the vehicle entrance that had a sign which read “Free Speech Area.” This area was far from the
20   pedestrian entrance where people parking in the lot would be entering the rodeo. PLAINTIFFS
21   viewed this area as ineffective for getting their message to patrons, because PLAINTIFFS would
22   not be able to quietly speak with patrons and hand them leaflets and patrons would not be able to
23   see PLAINTIFFS’ banners and signs. Accordingly, PLAINTIFFS continued on to the area near
24   the front entrance, where they had always demonstrated in previous years without incident.
25   PLAINTIFFS then proceeded to hold their banner and signs and pass out leaflets.
26          39.      Shortly thereafter an employee of DEFENDANT ROWELL RANCH RODEO,
27   INC., who PLAINTIFFS will refer to as DOE DEFENDANT 1 in this Complaint and who was
28   wearing a badge that read “All Access Credential 7”, approached PLAINTIFFS and told them

                                                      7
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
        Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 9 of 26



 1   that DEFENDANT ROWELL RANCH RODEO, INC. had set up a “Free Speech Area” and that
 2   PLAINTIFFS had to demonstrate in that “Free Speech Area.” PLAINTIFFS told DOE
 3   DEFENDANT 1 to call the police if he had a problem, and DOE DEFENDANT 1 then tried to
 4   grab the end of the banner PLAINTIFF JOSEPH CUVIELLO was holding. PLAINTIFFS told
 5   him he was not allowed to touch them and reiterated he should call the police. DOE
 6   DEFENDANT 1 then told PLAINTIFFS he could block their banner and proceeded to stand in
 7   front of PLAINTIFFS’ banner to obstruct its view. DOE DEFENDANT 1 then called the police
 8   and intentionally falsely told the dispatcher PLAINTIFFS were blocking the parking lot and the
 9   entrance. The police arrived approximately five minutes later, and upon arrival, PLAINTIFF
10   DENIZ BOLBOL observed and video recorded Alameda County Deputy Sheriff Joshua
11   Mayfield hugging a woman who appeared to be affiliated with the rodeo.
12          40.      Shortly thereafter, four police officers—three males and one female—
13   approached PLAINTIFFS, and one of the male officers, who this Complaint will refer to as
14   “Officer 1,” told PLAINTIFFS that he was with the Sheriff’s Office and just wanted to say hello.
15   Officer 1 said he and his fellow officers would be “hanging out” there and acknowledged that
16   PLAINTIFFS’ demonstration was protected as free speech. He told PLAINTIFFS that the
17   officers “get it” and that, “it’s totally cool.” PLAINTIFFS told Officer 1 they had no intention of
18   blocking anyone, and Officer 1 responded by saying, “All we ask is that everyone play nice.”
19   Officer 1 then told PLAINTIFFS that DEFENDANT ROWELL RANCH RODEO, INC. wanted
20   PLAINTIFFS to go to the “Free Speech Area.” PLAINTIFFS told Officer 1 they knew of the
21   Rodeo’s request, but PLAINTIFFS reiterated that they would not be using the “Free Speech
22   Area.” Officer 1 indicated he was fine with that.
23          41.      Moments later, Deputy Mayfield again told PLAINTIFFS about the “Free
24   Speech Area.” Deputy Mayfield told PLAINTIFFS that if they were to stay where they were,
25   they would have to “keep it peaceful.” PLAINTIFFS responded that they are always peaceful,
26   and all four police officers walked away.
27          42.      A short time later, Deputy Mayfield and DEFENDANT KEVIN HART
28   approached PLAINTIFFS. DEFENDANT HART was wearing a blue shirt that read “K. Hart,

                                                      8
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 10 of 26



 1   Public Safety Manager.” A badge appeared on DEFENDANT HART’s blue shirt that read
 2   “Ranger, Hayward Area Recreation and Park District.” Working in concert to enforce
 3   DEFENDANT ROWELL RANCH RODEO, INC.’S free speech policy, DEFENDANT HART
 4   and Deputy Mayfield threatened to arrest PLAINTIFFS if they did not move to the “Free Speech
 5   Area” set up by DEFENDANT ROWELL RANCH RODEO, INC.. PLAINTIFFS felt
 6   intimidated and coerced but refused to move to the “Free Speech Area,” as these new threats of
 7   arrest contradicted not only what Deputy Mayfield and Officer 1 had just told PLAINTIFFS but
 8   also PLAINTIFFS’ history of demonstrating near the front entrance without incident.
 9          43.      DEFENDANT HART continued to harass PLAINTIFFS. He told PLAINTIFFS
10   they had to go to the designated “Free Speech Area,” and he said, “Failure to do so will not be
11   good.” PLAINTIFF JOSEPH CUVIELLO asked DEFENDANT HART what would happen if
12   they didn’t go, and DEFENDANT HART said, “You’ll have to figure that out.”
13          44.      Based on his many years of experiences with law enforcement, PLAINTIFF
14   JOSEPH CUVIELLO understood that DEFENDANT HART was suggesting that PLAINTIFFS
15   could be arrested as a form of intimidation and coercion so that PLAINTIFFS would voluntarily
16   acquiesce and give up their right to free speech near the entrance. Because PLAINTIFF JOSEPH
17   CUVIELLO did not know if DEFENDANT HART was a law enforcement officer, he turned to
18   Deputy Mayfield, who was working in concert with DEFENDANT HART and asked him if he
19   would arrest PLAINTIFFS if they didn’t comply with the request. Deputy Mayfield said, “You
20   could be arrested.” Because Deputy Mayfield was threatening PLAINTIFFS with arrest if they
21   did not move, and because PLAINTIFF JOSEPH CUVIELLO did not want to be arrested,
22   PLAINTIFF JOSEPH CUVIELLO told Deputy Mayfield he did not want to get arrested and
23   asked him to let him know ahead of time if he was going to arrest him so he could leave. Deputy
24   Mayfield told PLAINTIFF JOSEPH CUVIELLO he was not required to tell him whether he
25   would arrest him or not, and continued to threaten PLAINTIFFS with arrest by telling them if
26   they did not move, they “could be” arrested and maintaining that arrest was a “possibility.”
27   PLAINTIFF JOSEPH CUVIELLO told Deputy Mayfield he needed to call his watch
28   commander.

                                                     9
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 11 of 26



 1          45.      PLAINTIFF JOSEPH CUVIELLO then explained that this is a public park, and
 2   unless there was a significant interest in keeping PLAINTIFFS from demonstrating near the
 3   entrance, he could not arrest PLAINTIFFS for being there. Based on his years of experience with
 4   police at protests, PLAINTIFF JOSEPH CUVIELLO understood Deputy Mayfield’s threats of
 5   arrest were an intimidation tactic meant to scare PLAINTIFFS and coerce them into
 6   relinquishing their right to engage in free speech activity near the rodeo entrance, the most
 7   effective free speech location at the Rowell Ranch Rodeo Park.
 8          46.      DEFENDANT HART, standing with Deputy Mayfield, told PLAINTIFF
 9   JOSEPH CUVIELLO, “You don’t have too much of a choice.” PLAINTIFF JOSEPH
10   CUVIELLO responded that he does have a choice, and DEFENDANT HART replied, “I’m
11   asking you nicely.” PLAINTIFF JOSEPH CUVIELLO responded, “I don’t give up my rights
12   because someone asks nicely.” DEFENDANT HART then asked PLAINTIFF JOSEPH
13   CUVIELLO if he was refusing to leave and PLAINTIFF JOSEPH CUVIELLO responded, “Yes,
14   I am.” DEFENDANT HART then asked PLAINTIFF JOSEPH CUVIELLO’S colleague Mike
15   Sage, if he was refusing to leave. PLAINTIFF JOSEPH CUVIELLO told Mr. Sage he could
16   leave if he wanted, and Mr. Sage asked PLAINTIFF JOSEPH CUVIELLO what he planned to
17   do. PLAINTIFF JOSEPH CUVIELLO told Mr. Sage he would not be leaving. Mr. Sage then
18   told DEFENDANT HART he, too, would not be leaving.
19          47.      DEFENDANT HART then asked PLAINTIFF DENIZ BOLBOL if she was
20   refusing to leave, and she said, “I’m not going to leave.” DEFENDANT HART then asked other
21   activists if they were refusing to leave, and they confirmed they would stay. At this point
22   PLAINTIFF JOSEPH CUVIELLO saw Deputy Mayfield on his cellphone.
23          48.      After being on his cellphone for approximately five minutes, Deputy Mayfield
24   spoke with DEFENDANT HART and the other police officers for approximately three minutes.
25   During this time, DOE DEFENDANT 1 approached Mr. Sage, who was holding a sign and
26   handing out leaflets, and stood right in front of him. PLAINTIFF DENIZ BOLBOL told DOE
27   DEFENDANT 1 that he was not allowed to touch Mr. Sage. Mr. Sage told PLAINTIFF DENIZ
28   BOLBOL that DOE DEFENDANT 1 had pushed him. DOE DEFENDANT 1 then walked away.

                                                     10
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 12 of 26



 1          49.        Shortly thereafter, Deputy Mayfield approached PLAINTIFFS and told them to
 2   stay out of the walkway and not block anybody, and PLAINTIFF JOSEPH CUVIELLO told
 3   him, “You know that’s what we’re doing.” The “walkway” referred to by Deputy Mayfield is a
 4   combination roadway/walkway mostly used by patrons to walk to the entrance from the parking
 5   lot or street. On rare occasions, a vehicle will also use the walkway to enter or exit through the
 6   rodeo entrance.
 7          50.        Deputy Mayfield then attempted to tell another activist he couldn’t be in the
 8   walkway to leaflet patrons, who were entering the rodeo park via the walkway. PLAINTIFF
 9   JOSEPH CUVIELLO told Deputy Mayfield, “We’re not blocking anybody, and you know that,”
10   and “You just want to make a problem.” Deputy Mayfield again told the activist not to stand in
11   the walkway. PLAINTIFF JOSEPH CUVIELLO told the activist, “As long as you’re not
12   blocking anybody you’re fine.” Deputy Mayfield walked away, and PLAINTIFFS proceeded to
13   demonstrate with their colleagues near the front entrance, standing in the walkway and leafleting
14   patrons as they passed by, without interference or incident that evening.
15          51.        Around 7:15 p.m., the number of patrons entering the front entrance waned, so
16   PLAINTIFF DENIZ BOLBOL and one of her colleagues went to the back entrance to distribute
17   informational leaflets to patrons entering there. Shortly thereafter PLAINTIFF JOSEPH
18   CUVIELLO and the rest of the demonstrators also went to the back entrance. PLAINTIFFS’
19   demonstration ended at approximately 7:40 p.m..
20   Events Of May 21, 2022
21          52.        On May 21, 2022, PLAINTIFFS again attended a demonstration at Rowell
22   Ranch Rodeo Park, arriving around noon at the front entrance. This was the second day of the
23   planned three-day demonstration against the Rowell Ranch Rodeo. PLAINTIFFS and their
24   colleagues demonstrated without incident at the front entrance for approximately 30 minutes and
25   then headed to the back entrance, as they had done the night before.
26          53.        As PLAINTIFFS passed through the gate heading toward the back entrance, they
27   observed several employees of DEFENDANT ROWELL RANCH RODEO, INC. were present
28   and now wearing yellow reflective vests. A white male, approximately sixty years old wearing, a

                                                      11
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 13 of 26



 1   yellow vest, whom PLAINTIFFS will refer to as DOE DEFENDANT 2 throughout this
 2   Complaint, attempted to block PLAINTIFF JOSEPH CUVIELLO from proceeding toward the
 3   back entrance by stepping in front of him and telling him he needed a ticket to the rodeo.
 4   PLAINTIFF DENIZ BOLBOL told DOE DEFENDANT 2 not to touch PLAINTIFF JOSEPH
 5   CUVIELLO and DOE DEFENDANT 2 then turned his attention to PLAINTIFF DENIZ
 6   BOLBOL. He physically stepped in front of her and started pushing her and attempted to use his
 7   body to block her from walking toward the back entrance while yelling she needed a ticket to the
 8   rodeo. DOE DEFENDANT 2 also repeatedly shouted, “Out.” PLAINTIFF DENIZ BOLBOL
 9   tried to walk around DOE DEFENDANT 2, but he would continually step in front of her and use
10   his body to stop her. PLAINTIFF DENIZ BOLBOL told DOE DEFENDANT 2 to stop touching
11   her, and as he repeatedly stepped in front of her, pushing his body into hers, he told her, “You’re
12   touching me.”
13             54.    After about 15 seconds, DOE DEFENDANT 2 stopped blocking PLAINTIFF
14   DENIZ BOLBOL, and PLAINTIFFS proceeded to the back entrance. They soon encountered a
15   female employee or agent of DEFENDANT ROWELL RANCH RODEO, INC., whom who told
16   PLAINTIFFS they needed a ticket. PLAINTIFFS told her to call the police if she has a problem
17   and continued to walk by her to the back entrance.
18             55.    At the back entrance, PLAINTIFF DENIZ BOLBOL held a sign and leafleted
19   near the entrance, where DOE DEFENDANT 1 was also standing. PLAINTIFF JOSEPH
20   CUVIELLO held a banner with a colleague near a tree, where an electric utility vehicle was
21   parked.
22             56.    At some point, PLAINTIFF JOSEPH CUVIELLO moved the banner away from
23   the tree and positioned it behind the electric utility vehicle for better public visibility. A short
24   time later, DOE DEFENDANT 1 approached PLAINTIFF JOSEPH CUVIELLO and told him to
25   not touch his electric utility vehicle with the banner, and PLAINTIFF JOSEPH CUVIELLO
26   moved away from the vehicle to comply. Then DOE DEFENDANT 1 told PLAINTIFF JOSEPH
27   CUVIELLO he had to move and got into the electric utility vehicle. PLAINTIFF JOSEPH
28   CUVIELLO was not blocking DOE DEFENDANT 1’s vehicle, as DOE DEFENDANT 1 could

                                                       12
                VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 14 of 26



 1   have easily driven forward to leave. An unidentified woman told PLAINTIFF JOSEPH
 2   CUVIELLO he had to move, so DOE DEFENDANT 1 could move his vehicle. As PLAINTIFF
 3   JOSEPH CUVIELLO was telling the woman that DOE DEFENDANT 1 could drive the vehicle
 4   forward, DOE DEFENDANT 1 backed up the electric utility vehicle and rammed it into
 5   PLAINTIFF JOSEPH CUVIELLO. PLAINTIFF JOSEPH CUVIELLO got angry and began
 6   yelling and cussing, “That’s assault with a deadly weapon.” DOE DEFENDANT 1 smiled and
 7   told PLAINTIFF JOSEPH CUVIELLO, “I asked you to move.” PLAINTIFF JOSEPH
 8   CUVIELLO told DOE DEFENDANT 1, “You’re not allowed to run into people if they don’t
 9   move;” DOE DEFENDANT 1 said again, “I asked you to move,” and drove off.
10   PLAINTIFFS’ Constitutional Rights
11            57.    PLAINTIFFS desire to continue to demonstrate at Rowell Ranch Rodeo Park
12   during rodeo events without being threatened, assaulted, and battered and without interference,
13   or attempted interference, of their constitutionally protected free speech rights by
14   DEFENDANTS.
15            58.    At all material times, PLAINTIFFS were peacefully exercising their protected
16   rights to free speech, press, association, conscience, and beliefs under California Constitution
17   Article 1, Section 2 by disseminating information on matters of great public concern in a public
18   forum.
19            59.    At all material times, PLAINTIFFS acted lawfully, as they never threatened any
20   person and never resisted any lawful order by any police officer.
21            60.    DEFENDANTS’ conduct was discriminatory and objectively unreasonable
22   under the circumstances.
23            61.   DEFENDANTS ROWELL RANCH RODEO, INC., HARD, and HART engaged
24   in a concert of action and joint venture to interfere with PLAINTIFFS’ rights to freedom of
25   speech, press, association, conscience and beliefs through threats, intimidation, and coercion, and
26   in furtherance of a common scheme to violate PLAINTIFFS’ aforementioned rights, with
27   knowledge of the conspiracy and its unlawful purpose.
28

                                                      13
               VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 15 of 26



 1             62.    At all material times, each DEFENDANT was engaged in unlawful activity,
 2   resulting in the interference and attempted interference of PLAINTIFFS’ constitutional rights
 3   and other harm.
 4             63.    DEFENDANTS’ conduct described herein was intended to deter or chill
 5   PLAINTIFFS’ exercise of constitutionally protected rights and was in retaliation for
 6   PLAINTIFFS’ political views and their constitutionally protected expression of those views.
 7             64.    PLAINTIFFS’ exercise of their constitutional rights to freedom of speech, press,
 8   assembly, association, conscience, and beliefs, and the content and/or viewpoint of
 9   PLAINTIFFS’ protected expression, or perceived expression, was a substantial or motivating
10   factor for DEFENDANTS’ conduct described herein.
11             65.     At all material times, and alternatively, the actions and omissions of each
12   DEFENDANT were intentional, wanton and/or willful, conscience shocking, reckless, malicious,
13   deliberately indifferent to each PLAINTIFF’s rights, done with actual malice, grossly negligent,
14   negligent, and objectively unreasonable.
15             66.     As a direct and proximate result of each DEFENDANT’s conduct as set forth
16   above, PLAINTIFFS suffered embarrassment, humiliation, mental suffering, and emotional
17   distress.
18                                  FIRST CAUSE OF ACTION
                                            Assault
19                   (PLAINTIFF JOSEPH CUVIELLO Against DOE DEFENDANT 1
                     and PLAINTIFF DENIZ BOLBOL Against DOE DEFENDANT 2)
20

21             67.     PLAINTIFFS reallege each paragraph of this Complaint as if fully set forth

22   herein.

23             68.     Under California common law, an assault occurs where: (1) the defendant acted

24   with the intent to cause harmful or offensive contact, or threatened to touch plaintiff in a harmful

25   or offensive manner, (2) the plaintiff reasonably believed he was about to be touched in a

26   harmful or offensive manner or it reasonably appeared to plaintiff that the defendant was about

27   to carry out the threat, (3) the plaintiff did not consent to the defendant’s conduct, (4) the

28   plaintiff was harmed, and (5) defendant’s conduct was a substantial factor in causing that harm.


                                                       14
                 VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 16 of 26



 1             69.     DOE DEFENDANT 1 (1) intentionally drove an electric utility vehicle into
 2   PLAINTIFF JOSEPH CUVIELLO with the intent to cause him harm, (2) PLAINTIFF JOSEPH
 3   CUVIELLO reasonably believed he was about to be struck by the electric utility vehicle, (3)
 4   PLAINTIFF JOSEPH CUVIELLO did not consent to DOE DEFENDANT 1’s action, (4)
 5   PLAINTIFF JOSEPH CUVIELLO feared for his safety, and (5) DOE DEFENDANT 1’s action
 6   was substantial factor in causing PLAINTIFF JOSEPH CUVIELLO to fear for his safety.
 7             70.     As to PLAINTIFF DENIZ BOLBOL, DOE DEFENDANT 2 (1) threatened to
 8   push his body into PLAINTIFF DENIZ BOLBOL as means to prevent her from walking, (2)
 9   PLAINTIFF DENIZ BOLBOL reasonably believed she was about to be touched by DOE
10   DEFENDANT 2’s body in an unreasonable manner, (3) PLAINTIFF DENIZ BOLBOL did not
11   consent to DOE DEFENDANT 1’s conduct, (4) PLAINTIFF DENIZ BOLBOL feared for her
12   safety, and (5) DOE DEFENDANT 1’s conduct was a substantial factor in causing PLAINTIFF
13   DENIZ BOLBOL to fear for her safety.
14             71.     The actions of DOE DEFENDANTS 1 and 2 violated PLAINTIFFS’ right to be
15   free from assault.
16             72.     As a direct and proximate result of DEFENDANTS’ actions PLAINTIFFS
17   sustained injuries and damages as set forth above. Further, PLAINTIFFS claim all damages and
18   penalties allowed by law.
19             73.     This court has the power to remedy DEFENDANTS’ violations of California
20   common law through compensatory and punitive damages, and without this court’s intervention,
21   PLAINTIFFS’ injuries caused by DOE DEFENDANTS 1 and 2 will continue to be unaddressed.
22                                 SECOND CAUSE OF ACTION
                                            Battery
23                   (PLAINTIFF JOSEPH CUVIELLO Against DOE DEFENDANT 1
                     and PLAINTIFF DENIZ BOLBOL Against DOE DEFENDANT 2)
24

25             74.     PLAINTIFFS reallege each paragraph of this Complaint as if fully set forth

26   herein.

27             75.     Under California common law, a battery occurs where: (1) the defendant touched

28   the plaintiff or caused the plaintiff to be touched with the intent to harm or offend the plaintiff,


                                                       15
                VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 17 of 26



 1   (2) the plaintiff did not consent to the touching, (3) the plaintiff was harmed or offended by the
 2   defendant’s conduct, and (4) a reasonable person in the plaintiff’s position would have been
 3   offended by the touching.
 4          76.      DOE DEFENDANT 1 (1) touched PLAINTIFF JOSEPH CUVIELLO by driving
 5   an electric utility vehicle into his body with the intent to harm PLAINTIFF JOSEPH
 6   CUVIELLO, (2) PLAINTIFF JOSEPH CUVIELLO did not consent to being hit by the electric
 7   utility vehicle, (3) PLAINTIFF JOSEPH CUVIELLO was harmed by the incident and offended
 8   by DOE DEFENDANT 1’s action, and (4) a reasonable person would be offended by an electric
 9   utility vehicle being driven into their person.
10          77.      As to PLAINTIFF DENIZ BOLBOL, DOE DEFENDANT 2 (1) pushed
11   PLAINTIFF DENIZ BOLBOL and pressed his body against hers with the intent to harm
12   PLAINTIFF DENIZ BOLBOL, (2) PLAINTIFF DENIZ BOLBOL did not consent to being
13   touched by DOE DEFENDANT 2 as evidenced by her telling DOE DEFENDANT 2 to stop
14   touching her body, (3) PLAINTIFF DENIZ BOLBOL was offended by this unwanted touching,
15   and (4) any reasonable person would have been offended by DOE DEFENDANT 1’s touching.
16          78.      The actions of DOE DEFENDANTS 1 and 2 violated PLAINTIFFS’ right to be
17   free from battery.
18          79.      As a direct and proximate result of DEFENDANTS’ actions PLAINTIFFS
19   sustained injuries and damages as set forth above. Further, PLAINTIFFS claim all damages and
20   penalties allowed by law.
21          80.      This court has the power to remedy DEFENDANTS’ violations of California
22   common law through compensatory and punitive damages, and without this court’s intervention,
23   PLAINTIFFS’ injuries caused by DOE DEFENDANTS 1 and 2 will continue to be unaddressed.
24

25

26

27

28

                                                       16
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 18 of 26



 1
                                      THIRD CAUSE OF ACTION
 2                          Violation of California Civil Code, section 52.1(c)
                                    Injunctive and Declaratory Relief
 3                           (All PLAINTIFFS Against All DEFENDANTS)
 4             81.   PLAINTIFFS reallege each paragraph of this Complaint as if fully set forth
 5   herein.
 6             82.   “Any individual whose exercise or enjoyment of rights secured by the
 7   Constitution or laws of the United States, or of rights secured by the Constitution or laws of this
 8   state, has been interfered with, or attempted to be interfered with,” “by threat, intimidation, or
 9   coercion” “may institute and prosecute in their own name and on their own behalf a civil action
10   for damages, including, but not limited to, damages under Section 52, injunctive relief, and other
11   appropriate equitable relief to protect the peaceable exercise or enjoyment of the right or rights
12   secured, including appropriate equitable and declaratory relief to eliminate a pattern or practice
13   of conduct.” Civ. Code, sec. 52.1(b), (c).
14             83.   On May 20, 2022, DEFENDANT HART and Deputy Mayfield, working in
15   concert, threatened to arrest PLAINTIFFS if they did not move to the “Free Speech Area.”
16             84.   PLAINTIFFS felt intimidated and coerced but refused to move to the “Free
17   Speech Area,” as these new threats of arrest contradicted what Deputy Mayfield and Officer 1
18   had just told PLAINTIFFS.
19             85.   DEFENDANT HART continued to harass PLAINTIFFS. He told PLAINTIFFS
20   they had to go to the designated “Free Speech Area,” and he said, “Failure to do so will not be
21   good.”
22             86.   PLAINTIFF JOSEPH CUVIELLO asked DEFENDANT HART what would
23   happen if they didn’t go, and DEFENDANT HART said, “You’ll have to figure that out.”
24             87.   PLAINTIFFS took these statements to mean that that PLAINTIFFS could be
25   arrested as a form of intimidation and coercion so that PLAINTIFFS would voluntarily acquiesce
26   and give up their right to free speech near the entrance.
27

28

                                                      17
                VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 19 of 26



 1           88.      On May 21, 2022, DOE DEFENDANT 2 used threats, intimidation and coercion
 2   to attempt to interfere with PLAINTIFF DENIZ BOLBOL’S free speech rights by physically
 3   blocking her from accessing the free speech public forum.
 4           89.      On May 21, 2022, DOE DEFENDANT 1 drove an electric utility vehicle into
 5   PLAINTIFF JOSEPH CUVIELLO’s person to interfere with PLAINTIFF exercising his free
 6   speech rights as an animal rights activist.
 7           90.      By and through such acts, DEFENDANTS have violated PLAINTIFFS’ rights
 8   under California Civil Code, section 52.1, by interfering or attempting to interfere, by threats,
 9   intimidation, or coercion, with the exercise or enjoyment of rights secured by the First
10   Amendment, the Constitution or laws of the State of California, including but not limited to the
11   following clearly-established rights under the California Constitution and laws of the State of
12   California: (a) the right of protection from bodily harm pursuant to California Civil Code, section
13   43 and (b) the right to be free from interference, or retaliation for, their exercise of
14   constitutionally protected rights, including but not limited to speech, press, association,
15   conscience, and beliefs, as secured by the First and Fourteenth Amendments of the United States
16   Constitution and the California Constitution, Article I, Section 2(a).
17           91.      As a direct and proximate result of DEFENDANTS’ violation of California Civil
18   Code, section 52.1, PLAINTIFFS sustained injuries and damages as set forth above. Further,
19   PLAINTIFFS claim all damages and penalties allowed by law, including California Civil Code,
20   sections 52 and 52.1, and including costs, treble damages, civil penalties and attorney fees.
21           92.      PLAINTIFFS are entitled to an injunction under California Civil Code, section
22   52.1 to prevent DEFENDANTS from interfering or attempting to interfere, by threats,
23   intimidation, or coercion, with the exercise or enjoyment of rights secured by the First
24   Amendment, the Constitution or laws of the State of California.
25           93.      Absent an injunction from this court, PLAINTIFFS will continue to be
26   irreparably harmed by DEFENDANTS’ actions.
27           94.      PLAINTIFFS are entitled to a declaration from this court that DEFENDANTS’
28   actions violated California Civil Code, section 52.1(c).

                                                       18
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 20 of 26



 1                                    FOURTH CAUSE OF ACTION
                               Violation of California Civil Code, section 51.7
 2                      Injunctive Relief under Code of Civil Procedure, section 526
                             (All PLAINTIFFS Against DOE DEFENDANT 1)
 3
               95.      PLAINTIFFS reallege each paragraph of this Complaint as if fully set forth
 4
     herein.
 5
               96.      California Civil Code, section 51.7 requires that “[a]ll persons within the
 6
     jurisdiction of this state have the right to be free from any violence, or intimidation by threat of
 7
     violence, committed against their persons or property because of political affiliation.” Civ. Code,
 8
     sec. 51.7(b)(1).
 9
               97.      “Intimidation by threat of violence” as used in California Civil Code, section
10
     51.7, “includes, but is not limited to, making or threatening to make a claim or report to a peace
11
     officer or law enforcement agency that falsely alleges that another person has engaged in
12
     unlawful activity or in an activity that requires law enforcement intervention, knowing that the
13
     claim or report is false, or with reckless disregard for the truth or falsity of the claim or report.”
14
     Civ. Code, sec. 51.7(b)(2).
15
               98.      On May 20, 2022, DOE DEFENDANT 1, in response to PLAINTIFFS
16
     exercising their free speech rights as animal rights activists, called the police and falsely stated
17
     that PLAINTIFFS were blocking the parking lot and entrance to the rodeo despite DOE
18
     DEFENDANT 1 knowing that statement to be false.
19
               99.      On May 21, 2022, DOE DEFENDANT 1, in response to PLAINTIFF JOSEPH
20
     CUVIELLO exercising his free speech rights as an animal rights activist, drove an electric utility
21
     vehicle into PLAINTIFF JOSEPH CUVIELLO.
22
               100.     As such, DOE DEFENDANT 1 violated PLAINTIFFS’ right to be free from any
23
     violence or threat of violence, or intimidation by threat of violence committed against his person
24
     because of PLAINTIFF’s animal rights political affiliation when DOE DEFENDANT 1 falsely
25
     reported to the police that PLAINTIFFS were acting unlawfully when exercising their free
26
     speech rights and when he drove the electric utility vehicle into PLAINTIFF JOSEPH
27
     CUVIELLO, causing him physical distress and harm.
28

                                                        19
                VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 21 of 26



 1             101.     As is supported by the facts herein, DOE DEFENDANT 1’s actions were
 2   motivated by PLAINTIFFS’ political affiliations and beliefs.
 3             102.     As a direct and proximate result of DEFENDANTS’ violation of California Civil
 4   Code, section 51.7, PLAINTIFFS sustained injuries and damages as set forth above. Further,
 5   PLAINTIFFS claim all damages and penalties allowed by law, including California Civil Code,
 6   section 52(b), including costs, punitive damages, and civil penalties.
 7             103.     PLAINTIFFS are also entitled to an injunction enjoining DOE DEFENDANT 1
 8   from violating California Civil Code, section 51.7.
 9             104.     Absent an injunction, DOE DEFENDANT 1 will be permitted to continue to
10   interfere with PLAINTIFFS’ “right to be free from any violence, or intimidation by threat of
11   violence, committed against their persons or property because of political affiliation.” Civ. Code,
12   sec. 51.7(b)(1).
13             105.     PLAINTIFFS, who have no intention of ending their demonstrations against
14   rodeos at Rowell Ranch Rodeo Park, will be irreparably harmed without the court’s intervention.
15             106.     Monetary damages will only compensate the harm that has been done to
16   PLAINTIFFS in the past, so injunctive relief is necessary to secure their California Civil Code,
17   section 51.7 rights in the future.
18                                   FIFTH CAUSE OF ACTION
                Violation of Article I, Section 2(a) of the California State Constitution
19      Injunctive Relief under California Civil Code, section 52.1 & Code of Civil Procedure,
                                               section 526
20
                            (All PLAINTIFFS Against All DEFENDANTS)
21
               107.     PLAINTIFFS reallege each paragraph of this Complaint as if fully set forth
22
     herein.
23
               108.     Under the California Constitution, Article I, section 2, “[e]very person may
24
     freely speak, write and publish his or her sentiments on all subjects.” Cal. Const. art I, sec. 2.
25
               109.     No person may deprive or interfere with an individual’s rights under California
26
     Constitution, Article I, section 2.
27

28

                                                       20
                VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 22 of 26



 1             110.     DEFENDANTS interfered with PLAINTIFFS exercising their free speech rights,
 2   including through blocking PLAINTIFFS’ signs, physically touching PLAINTIFFS, and
 3   threatening to arrest PLAINTIFFS.
 4             111.     PLAINTIFFS seek a preliminary injunction under California Civil Code, section
 5   52.1 and Code of Civil Procedure section 526 during the pendency of this proceeding enjoining
 6   DEFENDANTS from further unlawful actions in violation of California Constitution, Article I,
 7   section 2, as prayed for below.
 8             112.     PLAINTIFFS also seek a permanent injunction under California Civil Code,
 9   section 52.1 and Code of Civil Procedure section 526 enjoining DEFENDANTS from
10   interfering, or attempting to interfere, with PLAINTIFFS’ free speech rights through threats,
11   intimidation, or coercion, and from harassing PLAINTIFFS while lawfully engaged in free
12   speech activity.
13             113.     Absent an injunction, DEFENDANTS will be permitted to continue to harass,
14   intimidate, threaten, and interfere with PLAINTIFFS’ rights under Article I of the California
15   Constitution.
16             114.     PLAINTIFFS, who have no intention of ending their demonstrations against
17   rodeos at Rowell Ranch Rodeo Park, will be irreparably harmed without the court’s intervention.
18             115.     Monetary damages will only compensate the harm that has been done to
19   PLAINTIFFS in the past, so injunctive relief is necessary to secure the free exercise of their
20   rights in the future.
21
                                   SIXTH CAUSE OF ACTION
22    Violation of First Amendment, as applied to the states under the Fourteenth Amendment
                             Injunctive Relief under 42 U.S.C. § 1983
23
                            Declaratory Relief under 28 U.S.C. § 2201(a)
24    (All PLAINTIFFS Against DEFENDANTS ROWELL RANCH RODEO, INC., HARD,
                                           and HART )
25
               116.     PLAINTIFFS reallege each paragraph of this Complaint as if fully set forth
26
     herein.
27

28

                                                      21
                VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 23 of 26



 1           117.     Under 42 U.S.C. § 1983, a party may seek injunctive relief against a party who,
 2   under color of law of any state, subjects any person within the jurisdiction of the United States to
 3   a deprivation of any rights, privileges, or immunities secured by the Constitution and other laws.
 4           118.     Free speech rights under the First Amendment to the United States Constitution
 5   have been made enforceable against the states through the Fourteenth Amendment.
 6           119.     Rowell Ranch Rodeo Park is a publicly-owned park and therefore a public forum
 7   under the First Amendment.
 8           120.     DEFENDANTS HARD and HART are state actors as they are a governmental
 9   entity and employee, respectively.
10           121.     DEFENDANT ROWELL RANCH RODEO, INC. was also a state actor, and
11   acting under the color of law, as it worked in concert with each state actor DEFENDANTS
12   HARD and HART to interfere with PLAINTIFFS exercising their free speech rights, including
13   threatening to arrest PLAINTIFFS.
14           122.     PLAINTIFFS are entitled to an injunction under 42 U.S.C. § 1983 to prevent
15   DEFENDANTS ROWELL RANCH RODEO, INC., HARD, and HART from continuing to
16   violate PLAINTIFFS’ First Amendment rights to freedom of speech.
17           123.     Absent an injunction, DEFENDANTS ROWELL RANCH RODEO, INC.,
18   HARD, and HART will be permitted to continue to harass, intimidate, threaten, and interfere
19   with PLAINTIFFS’ rights under the First Amendment.
20           124.     As such, PLAINTIFFS, who have no intention of ending their demonstrations
21   against rodeos at Rowell Ranch Rodeo Park, will be irreparably harmed without the court’s
22   intervention.
23           125.     Monetary damages will only compensate the harm that has been done to
24   PLAINTIFFS in the past, so injunctive relief is necessary to secure the free exercise of their
25   rights in the future.
26           126.     Plaintiffs are also entitled to a declaration under 28 U.S.C. § 2201(a) that
27   DEFENDANTS ROWELL RANCH RODEO, INC., HARD, and HART’S above-described
28   actions violated PLAINIFFS’ First Amendment rights to free speech.

                                                      22
              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
       Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 24 of 26



 1                                      PRAYER FOR RELIEF
 2          WHEREFORE, PLAINTIFFS respectfully request the following relief against each
 3   DEFENDANT herein as alleged, jointly and severally where appropriate:
 4          a) For compensatory damages against each DEFENDANT in accordance with proof;
 5          b) For punitive damages against each DEFENDANT in accordance with proof;
 6          c) A civil penalty of $25,000 against each DEFENDANT for each violation of rights
 7             under Section 52.1 of the Civil Code. These penalties shall be awarded to each
 8             PLAINTIFF, separately, for each violation caused by DEFENDANTS;
 9          d) A civil penalty of $25,000 against each DEFENDANT for each violation of rights
10             under Section 51.7 of the Civil Code. These penalties shall be awarded to each
11             PLAINTIFF, separately, for each violation caused by DEFENDANTS;
12          e) Special damages against DEFENDANTS ROWELL RANCH RODEO, INC., HARD,
13             and HART pursuant to 42 U.S.C. §1983 in an amount to be proved at trial;
14          f) Treble damages against each DEFENDANT pursuant to Section 52 of the Civil Code;
15          g) Enjoin DEFENDANTS from violating PLAINTIFFS’ rights under California Civil
16             Code, section 52.1, by interfering or attempting to interfere, by threats, intimidation,
17             or coercion, with the exercise or enjoyment of rights secured by the First
18             Amendment, the Constitution or laws of the State of California;
19          h) Declare that DEFENDANTS’ actions violated California Civil Code, section 52.1(c);
20          i) Enjoin DEFENDANTS from continuing to violate PLAINTIFFS’ First Amendment
21             rights to freedom of speech;
22          j) Enjoin DOE DEFENDANT 1 from interfering with PLAINTIFFS’ California Civil
23             Code, section 51.7 rights in the future;
24          k) Enjoin DEFENDANTS through preliminary and permanent injunctions under
25             California Civil Code, section 52.1 and Code of Civil Procedure section 526 from
26             interfering, or attempting to interfere, with PLAINTIFFS’ free speech rights through
27             threats, intimidation, or coercion, and from harassing PLAINTIFFS while lawfully
28             engaged in free speech activity under California Constitution, Article I, section 2;

                                                    23
             VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
      Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 25 of 26




 1         1) Enjoin DEFENDANTS ROWELL RANCH RODEO, INC., HARD, and HART
 2              under 42 U.S.C. § 1983 from continuing to violate PLAINTIFFS' First Amendment
 3              rights to freedom of speech;
 4          m) Declare under 28 U.S.C. § 2201(a) that DEFENDANTS' above- described actions
 5              violated PLAINTIFFS' First Amendment rights to free speech;
 6          n) Reasonable attorneys' fees, including pursuant to 42 U.S.C. § 1988 ;
 7          o) Costs of suit; and
 8          p) Such other and further relief as the court deems appropriate.
 9
10                                   DEMAND FOR JURY TRIAL
11
12          PLAINTIFFS demand a trial by jury of all triable issues pursuant to Rule 38 of the

13   Federal Rules of Civil Procedure and Local Rule 3 -6.

14
15                                               Respectfully submitted,

16
     Dated: April 6, 2023
17                                                Jesf L. Blome
                                                  G ENFIRE LAW, PC
18                                                Attorneys for PLAINTIFF Deniz Bolbol
19
20   Dated: April 6, 2023
21                                                  SEPH CUVIELL
                                                  PLAINTIFF In Pro Se
22
23
24
25
26
27
28


             VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
                                    �
      Case 4:23-cv-01652-KAW Document 1 Filed 04/06/23 Page 26 of 26




 1                                              Verifications

 2
            I, Joseph Cuviello, a citizen of the United States and a resident of the State of California,
 3
     hereby verify under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true
 4
     and correct.
 5
 6
            Executed on this   ..ft_ day of April 2023.
 7
 8
 9
10          I, Deniz Bolbol, a citizen of the United States and a resident of the State of California,
11   hereby verify under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true
12   and correct.
13          Executed on this _k_ day of April 2023.
14
15
                                                    DENIBLBOL
16                                                  PLAINTIFF
17
18
19
20
21
22
23
24
25
26
27
28


              VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES
                                    .......
